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                            UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
                                  SPOKANE DIVISION


 NORTH CASCADES CONSERVATION                           Case No. 2:22-cv-00293
 COUNCIL,
                                                       DECLARATION OF RICHARD K.
               Plaintiff,
                                                       BAILEY IN SUPPORT OF
        v.                                             PLAINTIFF’S MOTION FOR
                                                       SUMMARY JUDGMENT
 UNITED STATES FOREST SERVICE, a
 federal agency of the United States Department of
 Agriculture, and KRISTIN BAIL, in her official
 capacity as Forest Supervisor, Okanogan-
 Wenatchee National Forest, United States Forest
 Service,
               Defendants.


        I, Richard K. Bailey, declare as follows:

        1.     I am a member of Plaintiff North Cascades Conservation Council

 (“NCCC”). I have been a member of NCCC since 2017. I was appointed to the NCCC

 Board of Directors on January 29, 2023.

        2.     I serve as NCCC’s official spokesperson on a select range of issues,

 particularly issues affecting the Methow River Watershed.




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        3.      I personally, and for NCCC, monitor the processes and activities of the

 Okanogan-Wenatchee National Forest. NCCC relies on my monitoring to determine

 whether planned actions would positively or negatively impact NCCC’s interests, mission,

 and obligation to its members respecting actions in the Methow Watershed, especially

 those in the Twisp River Watershed.

        4.      NCCC’s mission is to protect and preserve the North Cascades’ scenic,

 scientific, recreational, educational, and wilderness values. The 24,000-acre Twisp

 Restoration Project (“TRP”) will have a direct and permanent impact on those same values
 that form the core of NCCC’s purpose.

        5.      The TRP involves road construction and heavy logging operations that will

 alter the above values of the TRP project area by leaving stumps, slash piles, ground debris,

 erosive ruts from log skidding, and road incursions all over an area that currently exists in

 its natural or near-natural state. The TRP will involve removal of trees of all sizes,

 including medium and large trees, that are significant contributors to the TRP area’s beauty

 and natural attributes.

        6.      The TRP will introduce industrial logging into a deeply interconnected

 landscape, much of which has never been impacted by commercial logging of this kind. I

 have personally viewed the rare and endemic plant species, unique ecosystems, and rare

 and endangered species that rely on the natural qualities of the TRP project area.

        7.      From 1980 to 1982, I worked for the United States Forest Service as an

 initial attack firefighter. I learned about fire behavior. Still to this day, I am deeply

 interested in the educational and scientific opportunities associated with wildfires. I am

 especially interested in the relationship between landscapes unaffected by wildfire that

 exist interconnected with landscapes altered by wildfire.

        8.      The TRP will increase motor traffic on newly built roads, impost noise and

 log truck traffic, and introduce heavy machinery to the area. All of these effects will greatly

 diminish the value for me and others of the TRP project area, parts of which have been

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 untouched by commercial logging, and the rest of which has been untouched by

 commercial logging for many years.

        9.      NCCC’s other members and myself place huge value on the TRP project

 area’s wilderness qualities that will be removed by the TRP. The Lookout Mountain area

 is just one example of a popular hiking destination within the TRP project area that I and

 NCCC’s other members frequent.

        10.     I first visited the area in 1960, when my grandparents took me fishing on

 the Twisp River just west of Newby Creek, which is within the TRP project area. Over the
 past sixty-three years, and counting, I have hiked seven of the nine trails in the Twisp

 Watershed, which were part of the originally proposed 77,000-acre TRP and will be

 impacted by the forthcoming Midnight Project taking place on portions of the 53,000 acres

 segmented from the TRP with no opportunity for public comment.

        11.     In 2014, I decided to build my retirement home in the Methow Valley. I

 love the rural setting and surrounding public lands with their incredible forest and mountain

 scenery containing vast recreational opportunities. My home is in Winthrop, approximately

 twelve miles from the project area as the crow flies. Since building my home in Winthrop,

 I have taken no fewer than forty trips into the Twisp Watershed, several of which were

 directly in the TRP project area.

        12.     I will next embark into the TRP project area on August 7, 2023, for a

 camping and hiking excursion through the Lookout Mountain and Poorman Creek areas.

 Thanks to the use of “conditions-based management” in the TRP rather than specific

 explanations of planned logging, there is no telling how these areas will be affected by the

 TRP, so I am eager to spend time in the area before the TRP moves forward. I will camp

 alongside Poorman Creek, accessible via a scenic road that runs alongside the Lookout

 Mountain Timber Sale, part of the TRP. I plan to hike up Block Mountain.




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        13.     I also have plans to explore the Newby Creek camping opportunities in the

 summer of 2024. I look forward to seeing more of the area where my grandparents first

 took me those years ago.

        14.     The ancient, primitive forest and wilderness on and around Lookout

 Mountain is mostly unknown to non-locals. The solitude it offers is special and deeply

 important to me and NCCC’s other members. You cannot find this kind of quiet isolation

 on the more popular trails and camping areas in the Methow Watershed. The TRP will

 permanently change this for the worse by introducing new roads, post-project ATV traffic,
 and destroying the interconnectivity of the ecosystem.

        15.     On a personal level, I feel the TRP subjects the unique ecological condition

 of the TRP project area to a forestry experiment lacking scientific justification. There is

 nothing unnatural, as the TRP Environmental Assessment claims, about the forest in the

 project area. The TRP will only serve to diminish the entire Twisp Watershed’s social and

 ecological values, values which I have enjoyed for over sixty years and will enjoy again in

 the very near future as much as I can, while it lasts.

        I hereby declare that the above statement is true to the best of my knowledge

 and belief, and that I understand it is made for use as evidence in court and subject

 to penalty for perjury.

        DATED this 7th day of July, 2023.



                                                By: s/ Richard K. Bailey
                                                    Richard K. Bailey




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                              CERTIFICATE OF SERVICE


        I certify that on July 7, 2023, I served or caused to be served a true and complete

 copy of the foregoing DECLARATION OF RICHARD K. BAILEY on the party or

 parties listed below as follows:
                     Via CM / ECF Filing
                     Via First Class Mail, Postage Prepaid
                     Via Email
                     Via Personal Delivery


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                                                   Of Attorneys for Plaintiff




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